Case 1:25-cv-01775-BAH   Document 10-7   Filed 06/24/25   Page 1 of 3




                    Exhibit E
                         1:25-cv-1775-BAH
      Case 1:25-cv-01775-BAH            Document 10-7               Filed 06/24/25   Page 2 of 3



                                                                        1400 Independence Avenue, SW
                                                                        Room 2055-S, STOP 0201
                                                                        Washington, D.C. 20250-0201



                                            April 21, 2025

MS. CLAUDIA AURAND
Associate Director of Development
Institute for Agriculture and Trade Policy
1700 2nd Street NE #200
Minneapolis, MN 55413-1139


Dear Claudia Aurand:

This letter provides notice that the United States Department of Agriculture is terminating your
federal award, 23RFSPMN1076, MinneAg Network - Community Storytelling to Educate and
Advocate: Growing Minnesota Farm and Food Democracy, in accordance with the terms and
conditions of your award, which include applicable regulations relating to termination. See 2
C.F.R. §§ 200.340-343.

It is a priority of the Department of Agriculture to eliminate discrimination in all forms
throughout the United States. The Secretary of Agriculture has determined, per the Department’s
obligations to the Constitution and laws of the United States, that priority includes ensuring that
the Department’s awards do not support programs or organizations that promote or take part in
diversity, equity, and inclusion (“DEI”) initiatives or any other initiatives that discriminate on the
basis of race, color, religion, sex, national origin, or another protected characteristic. Such DEI
policies and practices can violate both the letter and purpose of Federal civil rights laws and
conflict with the Department’s policy of maximizing and promoting American agriculture,
ensuring a safe, nutritious and secure food supply, enhancing rural prosperity, and protecting our
National Forests. In addition to complying with the letter and spirit of the civil rights laws, it is
vital that the Department assess whether all awards are free from fraud, abuse, and duplication,
as well as to assess whether current awards are in the best interests of the United States.

Termination. The award specified above provides funding for programs that promote or take part
in DEI initiatives or other initiatives that unlawfully discriminate on the basis of race, color,
religion, sex, national origin, or another protected characteristic; that violate either the letter or
purpose of Federal civil rights laws; that conflict with the Department’s policies and priorities;
that are not free from fraud, abuse, or duplication; or that otherwise fail to serve the best interests
of the United States. The award is therefore inconsistent with, and no longer effectuates,
Department priorities. See 2 C.F.R. § 200.340(a)(4). Pursuant to, among other authorities, 2
C.F.R. §§ 200.339-343, which are applicable to your award, the Department hereby terminates
award No. 23RFSPMN1076 in its entirety effective April 21, 2025.


                                        An Equal Opportunity Employer
      Case 1:25-cv-01775-BAH            Document 10-7        Filed 06/24/25      Page 3 of 3




Closure. You must submit all final reports and a final payment request no later than 120 calendar
days after the date of this notice. You will be reimbursed for costs incurred up to the date of this
notice that are determined to be consistent with 2 C.F.R. § 200.343, Effects of suspension or
termination. Any open balance remaining 120 days after the date of this notice will be
unavailable for payment.

If you do not submit all reports in accordance with the terms and conditions of the Federal award
within one (1) year of the effective termination date, the Agricultural Marketing Service (AMS)
must proceed to close out the award with the information available. In these circumstances, in
accordance with 2 C.F.R. § 200.344, AMS must report your material failure to comply with the
terms and conditions of the award in SAM.gov using the Contractor Performance Assessment
Reporting System (CPARS). In this way, failure to submit timely and accurate final reports may
affect your future funding.

Recipients are required by Federal regulation to retain all Federal award records consistent with
2 C.F.R. § 200.334. Termination of the agreement does not affect a Federal agency’s or a pass-
through entity’s right to disallow costs and recover funds based on a later audit or other review.
In addition, termination does not affect a recipient’s obligation to return any funds due as a result
of later refunds, corrections, or other transactions, including final indirect cost rate adjustments
(refer to 2 C.F.R. § 200.345).

Appeal Process. If you wish to appeal this decision, you may submit a written request explaining
why the termination should be reconsidered, along with any supporting documentation or
evidence of corrective action taken. The appeal must be submitted within 30 calendar days of
receiving the termination notice. Appeals will be reviewed by the appropriate AMS official, and
a final decision will be communicated within 15 business days of receipt.

If you have questions, contact your AMS Program Contact at IPPGrants@usda.gov.

                                                      Sincerely,



                                                      BRUCE SUMMERS
                                                      Administrator



CC: Erin McKee, Community Food Systems Program Director, Institute for Agriculture and
Trade Policy
Tricia Kovacs, Deputy Administrator, AMS-Transportation and Marketing Program
